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                                     AMENDED

                                    SCHEDULES

                                          to

                          ASSET PURCHASE AGREEMENT


                                       among


                      CHATHAM CREDIT MANAGEMENT III, LLC


                                         and


                              BUFFET PARTNERS, L.P.


                              dated as of March 28, 2014




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                                  LIST OF SCHEDULES

  SCHEDULE             DESCRIPTION

  1.1                  Pre-Petition Financing
  2.1(b)               Included Contracts
  2.1(d)(i)            Owned Real Property
  2.1(d)(ii)           Leased Real Property
  2.1(e)               Purchased Intellectual Property
  2.2(b)               Excluded Contracts
  2.3(a)               Trade Accounts Payable
  2.3(d)               Cure Amounts
  2.3(i)               Assumed Liabilities
  3                    Seller Disclosure Schedule
  4                    Purchaser Disclosure Schedule
  5.12                 Contract & Cure Schedule
  10.1                 Employees




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                             Schedule 1.1 – Pre-Petition Financing

  1.     Promissory Note (Advances), dated April 3, 2009, in the original principal amount of
  $5,479,740.31, executed by Borrower, payable to the order of Chatham Credit Management III,
  LLC, as Administrative Agent;

  2.      Amended and Restated Promissory Note (Term Loan A), dated April 3, 2009, in the
  original principal amount of $12,499,999.95, executed by Borrower, payable to the order of
  Chatham Credit Management III, LLC, as Administrative Agent;

  3.      Second Amended and Restated Promissory Note (Term Loan B), dated April 3, 2009, in
  the original principal amount of $8,495,610.58, executed by Borrower, payable to the order of
  Chatham Capital Management II, LLC, a Georgia limited liability company, not individually, but
  as agent for Chatham Investment Fund QPII, LLC and Chatham Investment Fund II, LLC, as
  assigned to Chatham Credit Management III, LLC, not individually but as agent for Chatham
  Investment Fund III, LLC and Chatham Investment Fund QPIII, LLC, pursuant to that certain
  Assignment and Acceptance Agreement dated August 12, 2013;

  4.     Promissory Note (Term Loan X), dated April 3, 2009, in the original principal amount of
  $2,950,000.00, executed by Borrower, payable to the order of Chatham Credit Management III,
  LLC, as Administrative Agent;

  5.     Promissory Note (Term Loan X Add On), dated November 4, 2011, in the original
  principal amount of $3,000,000.00, executed by Borrower, payable to the order of Chatham
  Credit Management III, LLC, not individually, but as agent for Chatham Investment Fund QPIII,
  LLC and Chatham Investment Fund III, LLC; and

  6.    Promissory Note (Priority Advance), dated August 29, 2013, in the original principal
  amount of $1,000,000.00, executed by Borrower, payable to the order of Chatham Credit
  Management III, LLC, not individually, but as agent for Chatham Investment Fund QPIII, LLC
  and Chatham Investment Fund III, LLC.




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                                Schedule 2.1(b) – Included Contracts
  Included Contracts
  Vendor Name                           Description of Contract
  ACE                                   D&O, EPL & Fiduciary Insurance
  Admiral Linen                         Linen and mat service
  AIG                                   Network Security
  Air Gas                               CO2 for the stores soft drink machines
  Air Liquide                           Dynamic Foods ‐ liquid Nitrogen
  Allen Canning Co                      Purchase contract; Canned Vegetables
  Aloha ‐ Radiant Systems               POS ‐ On line reporting
  American Bankers                      NFIP Insurance
  Ameripride Services                   Linen and Mat service
  AP Food Sales                         Food Broker
  Aramark                               318 ‐ Linen and mat service
  ASO Agreement/TPA, United
  Healthcare                            UHC Admin Agreement
  AT&T                                  Telecom services for retained locations
  Atmos Energy                          Gas Contract for W. TX units & DF plant
  Bellah & Associates                   Food Broker
  BioControl Systems                    Provide Swabs for MVP ICON
  Brinks US.                            Armored service for 311
  CCS Quickship                         Disaster Recovery Services ‐ Hardware
  Cigna                                 Dental Insurance for employees
  Cintas                                Uniform Service
  Clear Channel                         Wireless Internet backup for 318
  Clear Channel                         Outdoor Bulletin Advertising ‐ 500
  CNA                                   General Liability Excess Care
  CNE Gas                               Gas
  Compass Professional Health
  Services                              Employees assistance with medical plan
  ConAgra                               Estimated Contract Residual 11,335 cases; Ketchup and Rotel
  ConneX Systems Inc.                   Maintenance Agreement
  Consolidated Edison Solutions, Inc.   Electric for approx. 10 units plus corporate office
  Creative Restaurant Services          Exit interviews for Managers, Consulting for Ops. Manual
  Crunch Time                           License Agreement
  Crunch Time Information Systems       Agreement ‐ System to manage Food Cost, Labor etc.
  Dexter Service Agreement              Risk Administration
  Dickinson Frozen Foods                Purchasing agreement
  Discover Link                         Learning Management System
  Dr Pepper/Seven Up, Inc.              Purchasing agreement
  Eco Lab Dish Machine leases           Dish machines ‐ all stores
  Eco Lab Water Softener Leases         Water Softeners in certain stores
  Ecolab                                Cleaning Chemicals
  Fidelity Investments                  401K Service Agreement

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  Vendor Name                       Description of Contract
  Fiddler Marketing                 Food Broker
  Garda                             Armored Service
  GreatAmerica Financial Services   Xerox Copier Systems
  Headrick Outdoor Media            Sulphur Springs ‐ Billboard
  Hyster Capital                    Operating lease
  IBM Credit                        iSeries software and hardware maintenance
  IBM/Kenaxa                        Click and Hire application/assessment portal
  IBM                               Service Elite, Tape Drive Hardware Maintenance
  Idahoan Foods                     Purchasing agreement; Mashed Potatoes, Hash Browns
  Indian Harbor Insurance Co        Poll Legal Liabiity & UST’s Insurance
  InfoSync Agreement                Outside Accounting Services
  International Food Products       Purchasing agreement; Granulated Sugar
  Iron Mountain                     Secure Storage for corporate files
  J R Simplot Co                    Purchasing agreement; French Fries & Sweet Rstd Corn
  J.M. Smucker Co.                  Purchasing agreement; Evap Milk
  JC's Terminex                     Pest Control
  John Sanfilippo                   Food Broker
  Konica Minolta ‐ DF               Copier lease
  Lincoln Life                      Life/ADD,STD, LTD Provider
  Lloyd’s of London                 Motor Truck Cargo Insurance, Prod Recall
  Lookout Agreement                 I‐9 licensing
  Loomis                            Armored service
  Maxus Capital Group               Schedule 2 (Store 319) and Schedule 3 (Dynamic/Lubbock)
  Messageware Incorporated          Software License Agreement
  Mexus Group LP                    Wireless internet for #500
  Morgan Birge & Assoc.             Phone maintenance for Plano and Lubbock

  National Frozen Foods             Purchasing Agreement
  Northwest Fire Protection         Fire inspection
  North American                    Tx Nonsubscribers employee injury plan
  NuCo2 Agreement                   CO2 for the stores soft drink machines
  Okeene Milling Co                 Supply agreement
  Old Seville Waste Management      Various stores ‐ Trash pickup and other waste services
  One Source                        Tax Lookup Software
  Peterson Farms / Cherrco          Purchasing agreement; IQF Cherries
  Pictsweet                         Purchasing agreement
  Pitney Bowes                      Postage Meter Rental
  Pitney Bowes                      Software (SoftGuard)
  Premium Assignment Corp           Financing for Annual Insurance Package
  Pro Act                           Broker; Fresh Produce Contract for the Stores (see below)
  Producers Rice Mill, Inc.         Purchasing agreement; Rice
  Protection One                    Fire alarm and monitoring for DFW stores.
  Providence Risk                   Admin & Claims costs for TNS ‐ TPA

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  Vendor Name                           Description of Contract
  Qwest ‐ Century Link                  Telecom service
  R3/Papercraft                         Pricing letter
  Radiant Software License              POS ‐ On line reporting, See Aloha Contract
  Rich Products                         Purchasing agreement; Whip Topping, Biscuits, Pizza Crust
  Ricoh ‐ Print Solutions Maintenance   DF Printer Maintenance
  Rocket Software/Aldon                 iSeries change Management Software
  Safesite                              Offsite data storage
  Sand Trap Service                     Pump Greasetrap ‐ 319
  Sara Lee                              Purchasing agreement; Texas Toast
  Securitas Security Systems            Security services
  Seenergy Foods Limited                Purchasing agreement; Black Beans IQF ‐ Brinker
  Simplex Grinnell                      Service agreement, fire systems inspection
  Snagajob                              Job Postings online for field hourly
  Sedgwick                              Admins and claims costs ‐ GL policy TPA
  Summer Prize Fruit Co                 Food Broker
  Supply One                            Purchasing Agreement
  Sure Fresh                            Purchasing Agreement
  Swisher                               Restroom Cleaning Service ‐ 148 ‐ 318
  TALX Employer Service                 Unemployment Claims Management
  Transamerica Life Ins.                Employee paid supplemental insurance plans
  Travelers                             Umbrella Insurance
  Tri‐venture Marketing                 Food Broker
  UHC                                   Stoploss for Medical ASO Plan, Service agreement ‐ TPA for
                                        medical plans
  VALASSIS DIRECT MAIL INC              Online marketing and direct mail
  Ventura Foods                         Purchasing agreement; shortenings and oils
  VSP                                   Vision Plan
  Wells Fargo Client Service
  Agreement                             Property and casualty insurance agreement
  Wells Fargo Merchant Agreement        Merchant Processor Service Agreement
  Wells Fargo Merchant Agreement        Zurich ‐ Property, Auto Insurance, Workers Comp All States but
                                        TX
  Zurich                                Property, Auto Insurance, Workers Comp All States but TX




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  Pro Act Vendors (Fresh Produce Contract for the Stores)
  Hardies Fruits &
  Vegetables
  Potato Specialty Co.
  Loffredo Fresh
  Produce Co
  Stern Produce Co.
  Segovias Distributing,
  Inc.
  Tulsa Fruit Company
  Go Fresh
  Food Services of
  America
  Lonestar Logos &
  Signs LLC Inc.
  Contract Number        Description
  O‐39500‐SM31           Billboard ‐ IH 027 @ Exit 049
  O‐39525‐SP9Q           Billboard ‐ IH 040 @ Exit 064
  O‐40597‐951Y           Billboard ‐ IH 030 @ Exit 124
  O‐40930‐8B7H           Billboard ‐ IH 020 @ Exit 134
  O‐41186‐NTSF           Billboard ‐ IH 030 @ Exit 052A
  O‐41522‐PXBV           Billboard ‐ IH 635 @ Exit 011A
  O‐41644‐8RZD           Billboard ‐ SH 151 @ Exit IH 410
  O‐38266‐7ZC1           Billboard ‐ LP 0289 @ Exit INDIANA AVE
  O‐44853‐9C52           Billboard ‐ IH 010 @ Exit 032
  O‐44152‐3QSM           Billboard ‐ LP 0250 @ Exit SH 191
  O‐45528‐8K9T           Billboard ‐ IH 020 @ Exit 450




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   Unexpired Real Property Leases
   Vendor Name                                    Description of Contract   Location of Lease
   One Energy Shopping Center LLC                 Lease                     #101‐Odessa, TX
   MCM Properties LTD                             Lease                     #102‐Odessa, TX
   Tomorrow IX Broadmoor, LP                      Lease                     #103‐Hobbs, NM
   Mesa Center, LLC                               Lease                     #104‐Midland, TX
   Boston and Mays LLC                            Lease                     #110‐Amarillo, TX
   WFC Wyoming NM, LLC                            Lease                     #115‐Albuquerque, NM
   505 Cordova LLC                                Lease                     #116 Santa ‐FE, NM
   The Holland Island, LLC                        Lease                     #123‐Amarillo, TX
   ARC CAFEUSA001,LLC                             Lease                     #148‐Garland, TX
   Segura Investors XII, LLC                      Lease                     #160‐Albuquerque, NM
   San Juan Plaza Partners                        Lease                     #175‐Farmington, NM

   Joe E. Monarrez, Jr. and Bricia Margarita
                                                  Lease                     #176‐Plainview, TX
   Monarrez, Co‐trustees of the Monarrez Family
   Trust Dated 2/4/2010

   Anchor Equities, Ltd                           Lease                     #190‐Lubbock, TX
   MDJ Furrs Alta, LLC                            Lease                     #191‐Ft. Worth, TX
   National Retail Properties, LP                 Lease                     #204‐McAllen, TX
   Hume Arizona Holdings, LLC                     Lease                     #231‐Tucson, AZ
   Hume Investment Advisors, LLC                  Lease                     #234‐Dallas, TX
   Arthur N. Rupe Foundation                      Lease                     #235‐Lubbock, TX
   Michael & Sandra Trammel                       Lease                     #302‐Sulphur Springs,TX
   National Retail Properties, LP                 Lease                     #311‐Moore, OK
   Rogers Avenue Properties, LLC                  Lease                     #312‐Ft. Smith, AR
   National Retail Properties, LP                 Lease                     #313‐Arlington, TX
   N3 335 Plano TX LLC                            Lease                     #319‐Plano, TX
   Las Palmas Dunhill LP                          Lease                     #500‐El Paso, TX
   IndCor Properties                              Lease                     Plano – Corp. Office


   Principal Balance of Capital Leases -
    Maxus (Schedule 2, Store #319)                                                $448,304.00
    Maxus (Schedule 3, Dynamic – Lubbock)                                         $111,450.75
    Great American Financial                                                      $ 4,055.75




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                          Schedule 2.1(d)(i) – Owned Real Property

     1. Food Processing Manufacturing Plant Land, Dynamic Foods, 1001 E. 33rd Street,
        Lubbock, TX 79404 – Land Value and Property Improvements

     2. Building and improvements subject to ground lease; store #500 – El Paso, TX




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                            Schedule 2.1(d)(ii) – Leased Real Property



   Site #   Address                          City                 State

    101     3120 Andrews Highway             Odessa                TX
    102     4101 East 42nd Street            Odessa                TX
    103     North Turner & Sanger            Hobbs                 NM
    104     1116 N Midkiff                   Midland               TX
    110     2640 Wolflin Square              Amarillo              TX
    115     2272 Wyoming , N.E.              Albuquerque           NM
    116     522 Cordova                      Santa Fe              NM
    123     2201 Southwestern St #145        Amarillo              TX
    148     1540 Eastgate Dr.                Garland               TX
    160     5001 Montgomery Plaza #109       Albuquerque           NM
    175     3030 E. Main                     Farmington            NM
    176     3605 Olton Road                  Plainview             TX
    190     2817 Loop 289 South              Lubbock               TX
    191     3233 Alta Mere Drive             Ft. Worth             TX
    204     901 W Expressway                 McAllen               TX
    231     1095 W St. Mary’s                Tucson                AZ
    234     6465 Samuell Blvd.               Dallas                TX
    235     6001 Slide Road                  Lubbock               TX
    302     1300 Mockingbird Lane            Sulphur Springs       TX
    311     1201 S. Interstate Dr.           Moore                 OK
    312     5707 Rogers Avenue               Fort Smith            AR
    313     300 E Interstate 20 Highway      Arlington             TX
    319     1900 N Central Expressway        Plano                 TX
    500     11925 Gateway West Blvd.         El Paso               TX
    Corp    2701 E. Plano Parkway, Ste 200   Plano                 TX




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                             Schedule 2.1(e) – Purchased Intellectual Property

     Trademark Information           State/Country           Goods/Services                       Deadline(s)

  FURR’S                             Arizona         IC 14: Prepared foods and/or        Registered
  Serial No. 19165                                   ingredients thereof.
  Filing Date: December 15, 1977                                                         12/14/2017 – Renewal due.
  Registration No. 19165
  Registration Date: December
  15, 1977

  DYNAMIC FOODS                      USA             IC29: G & S: meat; seafood;         Registered
  Serial No. 74/285,258                              prepared foods; namely, beef
  Filing Date: June 16, 1992                         and pork cutlets and patties;       07/23/2016 – Section 8 & 9
  Registration No. 1,987,794                         organ meats; fish filets;           renewal due.
  Registration Date: July 23, 1996                   prepared entrees consisting
                                                     primarily of meat, fish, poultry
                                                     or vegetables; and desserts;
                                                     namely, fruit-based pie fillings
                                                     and fruit-based dessert
                                                     toppings

                                                     IC 30: bakery goods; sauces;
                                                     prepared foods; namely, bread
                                                     products in the nature of bread
                                                     loaves, rolls, dumplings,
                                                     biscuits, pie crusts and bread
                                                     crumbs; and desserts; namely,
                                                     pies, cakes, and cobblers;
                                                     prepared entrees consisting
                                                     primarily of pasta or rice.

  DYNAMIC FOODS (and                 USA             IC29: Meat; seafood, not live;      Registered
  Design)                                            prepared foods, namely, beef
                                                     and pork cutlets and patties;       03/03/2015 – Section 8 & 15
                                                     organ meats made of liver; fish     Declaration due.
                                                     filets; prepared entries
                                                     consisting primarily of meat,       03/03/2019 – Section 8 & 9
                                                     fish, poultry or vegetables; and    renewal due.
  Serial No. 77/206,504                              desserts, namely, fruit-based pie
  Filing Date: June 14, 2007                         fillings and fruit-based dessert
  Registration No. 3,584,008                         toppings.
  Registration Date: March 3,
  2009                                               IC30: Bakery goods; sauces;
                                                     prepared foods, namely, bread
                                                     products in the nature of bread
                                                     loaves, rolls, dumplings,
                                                     biscuits, pie crusts and bread
                                                     crumbs; and desserts; namely,
                                                     pies, cakes and cobblers;
                                                     prepared entries consisting
                                                     primarily of pasta or rice.




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     Trademark Information           State/Country           Goods/Services                    Deadline(s)

  FURR’S                             USA             IC 42: Restaurant services.      Registered
  Serial No. 74/067,344
  Filing Date: June 11, 1990                                                          12/27/2014 – Section 8 & 9
  Registration No. 1,870,079                                                          renewal due.
  Registration Date: December
  27, 1994

  FURR’S FAMILY BUFFET               USA             IC 43: Restaurant services.      Registered
  Serial No. 78/848,164
  Filing Date: March 28, 2006                                                         02/13/2017 – Section 8 & 9
  Registration No. 3,208,318                                                          renewal due.
  Registration Date: February 13,
  2007

  FURR’S FAMILY BUFFET (and          USA             IC 43: Restaurant services.      Registered
  Logo)
                                                                                      02/13/2017 – Section 8 & 9
                                                                                      renewal due.


  Serial No. 78/848,146
  Filing Date: March 28, 2006
  Registration No. 3,208,315
  Registration Date: February 13,
  2007

  FURR’S FAMILY DINING               USA             IC 42: Restaurant services.      Registered
  Serial No. 74/067,337
  Filing Date: June 11, 1990                                                          02/07/2015 – Section 8 & 9
  Registration No. 1,878,073                                                          renewal due.
  Registration Date: February 7,
  1995

  FURR’S FRESH BUFFET                USA             IC 43: Restaurant services.      Registered
  Serial No. 78/848,154
  Filing Date: March 28, 2006                                                         02/13/2017 – Section 8 & 9
  Registration No. 3,208,316                                                          renewal due.
  Registration Date: February 13,
  2007

  FURR’S FRESH BUFFET (and           USA             IC 43: Restaurant and catering   Registered
  Design)                                            services.
                                                                                      07/24/2018 – Section 8 & 15
                                                                                      Declaration due.

                                                                                      07/24/2022 – Section 8 & 9
  Serial No. 85/311,760                                                               renewal due.
  Filing Date: May 4, 2011
  Registration No. 4,180,545
  Registration Date: July 24, 2012




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      Trademark Information         State/Country           Goods/Services                   Deadline(s)

  FURR’S FRESH BUFFET (and          USA             IC 43: Restaurant services.    Registered
  Logo)
                                                                                   02/13/2017 – Section 8 & 9
                                                                                   renewal due.


  Serial No. 78/848,159
  Filing Date: March 28, 2006
  Registration No. 3,208,317
  Registration Date: February 13,
  2007

  FURR’S FRESH SELECTIONS           USA             IC 43: Catering of food and    Pending
  (and Design)                                      drinks; restaurant services.
                                                                                   Awaiting acceptance of
                                                                                   Statement of Use.


  Serial No. 85/091,735
  Filing Date: July 23, 2010

  JUST WHAT YOU WANT.               USA             IC 43: Catering services;      Registered
  MADE FRESH.                                       restaurant services.
  Serial No. 85/256,589                                                            11/27/2018 – Section 8 & 15
  Filing Date: March 3, 2011                                                       Declaration Due.
  Registration No. 4,250,667
  Registration Date: November                                                      11/27/2022 – Section 8 & 9
  27, 2012                                                                         renewal due.




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                             Schedule 2.2(b) – Excluded Contracts

  Rejected Real Property Leases

       Store                                                    Property Location
        No.                  Lessor
     128       Parkway Development LLC               200 West 22nd Street, Clovis, NM 88101
     141       Farm Properties, Inc.                 6560 East 51st Street, Tulsa, OK 74145
     228       Humboldt Rio West, LLC                505 N. US Hwy 491, Gallup, NM 87301
     315       Inland Diversified Dallas Wheatland   39779 LBJ Frwy, Dallas, TX 75237
               LLC
     273       1750 Redondo, LLC                     1606 South Georgetown, Wichita, Kansas
                                                     67218
     247       Erland L. Stenberg and                4900 Kipling, Wheat Ridge, Colorado 80033
               Mary Ann Stenberg
     308       National Retail Properties, LP        2340 E Griggs Ave., Las Cruces, NM 88001
     309       National Retail Properties, LP        51 South Pantano Road, Tucson, Arizona,
                                                     85710
     221       Rohde-Herzog Family Trust             937 N. Expressway
                                                     Brownsville, TX 78521
     271       Sparky-Sanders, LLC                   2503 South Gregg, Big Spring, Texas 79720
     316       HOULOUNNN, LLC                        21005 Interstate 45, Spring TX 77373
     317       SAMP 2 L.L.C.                         7863 S Interstate 35, San Antonio, TX 78224




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  Rejected Equipment Leases

    Store                                                 Property Location
     No.                Lessor
     316     Olympic Compactor Rentals, Inc.      21005 Interstate 45, Spring TX 77373
     317       Maxus Capital Group, LLC        7863 S Interstate 35, San Antonio, TX 78224
     317       All States Compactors, Inc.     7863 S Interstate 35, San Antonio, TX 78224
     318              Olympic Inc.             8410 Highway 151, San Antonio, TX 78245


  Rejected Contracts

  Vendor Name                     Description of Contract
  CS Stars LLC                    STARS Software Statement of Work #3




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                           Schedule 2.3(a) – Trade Accounts Payable


             Trade Accts Payable‐ Estimated Based on 6.19.14 Aging
                                                                     Total Post AP
             Vendor Name                                             Amount Due
                                                                     6.19.14
             Advanced Graphix                                        $      3,343.20
             Baxter Clean Care                                       $      7,185.60
             Billingly Produce                                       $     12,622.50
             Bosch Packaging Service, Inc.                           $        181.50
             Bruce Foodservice                                       $      4,189.40
             CSM/Caravan Ingredients                                 $        235.26
             Cain Foods, Inc.                                        $      1,857.72
             Cintas Corporation #18A                                 $        291.24
             Clements Foods                                          $      2,041.04
             Ecolab Inc 15714967                                     $      2,395.85
             FedEx                                                   $        401.66
             FleetPride                                              $      2,557.39
             Home Depot Credit Services                              $      1,017.52
             Hurley Packaging                                        $        72.00
             Hyster Capital                                          $      3,852.85
             IBT Inc                                                 $        61.78
             Ingomar                                                 $      1,797.12
             Insco Distributing Inc                                  $        225.64
             International Food Products                             $     41,612.46
             J R Simplot                                             $      1,475.55
             Johnson Bros Bakery Supply                              $      1,470.24
             Kerry Savory                                            $        893.44
             Local & Western                                         $     24,523.48
             Lubbock Electric Co                                     $      1,012.91
             Lubbock Fire Extinguisher Service                       $        178.07
             Mayfield Paper Co.                                      $        543.46
             Mission Foods                                           $      9,711.99
             NMHG FINANCIAL SERVICES                                 $      3,314.38
             National Frozen Foods Corp                              $     20,093.23
             National Onion                                          $      5,243.00
             Nestle Brand Food Service                               $      1,307.34
             Okeene Mills                                            $     17,200.00
             Paccar Financial Corp                                   $      4,440.26
             Peterson Farms                                          $     38,506.29
             Potato Specialty                                        $        188.32
             RefrigiWear (acct#BUFF5000)                             $        115.72
             Rich Products Corp                                      $        300.00
             Robert Heath Trucking                                   $      3,860.00
             Royal Cup Coffee 1084459                                $      6,178.78
             Rusty's Weigh Scales & Service, Inc.                    $        438.41

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                                                               Total Post AP
             Vendor Name                                       Amount Due
                                                               6.19.14

             Schepp's Dairy Inc                                $     35,750.15
             Shawnee Milling Co                                $      5,754.50
             Thermal Scientific, Inc.                          $        824.87
             Trans Consolidated Distributors Inc               $      2,047.68
             UDawg                                             $      2,566.60
             UniFirst Holdings, Inc.                           $        316.35
             United Parcel Service                             $        850.64
             Ventura Foods, LLC (#33149‐001)                   $        186.75
             Western Marketing Inc                             $        500.85
             VIOLA DURON                                       $        30.00
             OLD SEVILLE WASTE CONSULTING                      $      2,332.69
             GREEN PRODUCTS INC                                $        242.48
             IVAN BUSTOS                                       $        130.00
             SHOES FOR CREWS INC                               $        96.27
             OKLAHOMA NATURAL GAS                              $        555.79
             BLAST MASTERS INC                                 $      5,354.39
             AMILCAR MONROY                                    $        422.50
             HARDIES FRUIT& VEGETABLE SO LP                    $      1,590.10
             OAK FARMS SAN ANTONIO                             $        74.46
             CRUNCH TIME INFORMATIONS                          $     14,240.58
             WELLS FARGO INSURANCE SERVICE                     $     68,727.52
             NATIONAL WELDERS SUPPLY CO INC                    $        45.60
             ANNETTE SHELL BALDWIN                             $      1,001.25
             ARAMARK UNIFORM SERVICES INC                      $        217.21
             BARRY M BARRON SR                                 $        372.82
             KIM SLEDGE                                        $        201.02

             TOTAL                                             $    371,369.67




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  Critical Vendor List

                                          Critical Amount
     Vendor Alpha                          Agreed to Pay

   Advanced Food Systems              $        9,321.75

   American Yeast Sales (#2398‐01)    $      19,607.00

   Idahoan Foods, LLC                 $          30,450

   Illes Seasonings & Flavors         $        7,012.50

   International Food Products        TBD

   Mission Foods                      $      28,011.96

   Okeene Mills                       $      70,857.75

   Plains Transportation, Inc.        $          11,019

   Precise Food Ingredients, Inc.     $        9,007.50
   R3 / Papercraft Southwest          $      73,688.57
   Robert Heath Trucking Inc          $        9,806.25
   Rubin Sales                        $      45,106.88
   Shawnee Milling Co                 $        8,573.00
   Sonstegard Foods                   $      24,354.00
   West Texas Seasoning               $        2,493.66
                                             $    349,309.84

   Undetermined payout                $         10,790
   75% Allowed                        $        360,099




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                                 Schedule 2.3(d) – Cure Amounts

                              Landlord Name                       TOTAL CURE AMOUNT ($)
                 505 Cordova LLC C/o Westgate Properties                 36,692.29
                                    Air Gas                              10,201.69
                                  Air Liquide                            3,252.00
                   AM Realty Capital (ARC CafeUSA001)                   109,460.40
                            Anchor Equities Ltd                          32,161.69
                         Arthur N Rupe Foundation                        83,359.55
                            BioControl Systems                           11,160.09
                           Boston & Mays LLC Inc                         5,478.40
                          Bre Central Ind Non Reit                       16,888.33
                  Cigna Health & Life Insurance Company
                                 Cintas Corp                             1,648.53
                                Clear Channel                            2,571.43
                       Consolidated Edison Solutions                    50,000.00
                Consolidated Holdings DBA Mesa Center LLC                    0
                     Crunch Time Information Systems                     7,824.00
                       Dennis A Gura Segura Holdings                    27,696.58
                         Dr Pepper/Seven Up, Inc.                       53,320.75
                          Ecolab – Dish Machines                        55,573.67
                 Ecolab Inc. – Chemical Supply Agreement                98,039.44
                            Farm Properties Inc                              0
                 Gallup Rio West LLC ‐ Attn: Anita Artalejo                  0
                      Greatamerica Financial Services                    1,004.17
                          Headrick Outdoor Media                         1,026.30
                             Holland Island LLC                         108,850.04
            Hume Arizona Holdings LLC ‐ Attn: Jonathan Garonce          14,322.88
             Hume Investment Advisors, LLC C/o Incorp Services          56,165.18
                                Hyster Capital                           3,852.85
                   Inland Diversified Real Estate Services                   0
                               Iron Mountain                             7,197.67
                             Joe E Monarrez Jr                               0
                      Konica Minolta Premier Finance                     1,133.03
                             Las Palmas Riocan                          54,443.59
                               Lone Star Signs                               0
                                 M Trammell                             36,085.35
                              MacGuffin Films                           25,000.00
                            Maxus Capital Group                         36,507.16
                             MDJ Furrs Alta, LLC                             0
                         Music City Mall Properties                     57,072.34
                            N3 335 Plano TX LLC                         74,577.14
                    National Retail Properties, LP ‐ #204                    0
                    National Retail Properties, LP ‐ #311                    0
                    National Retail Properties, LP ‐ #313                104,790
                             New Mexico Logos                                0
                              NMHG Financial                             3,314.38
                      One Energy Shopping Center LLC                     6,299.94
            Parkway Development Co C/o Commercial Prop Serv                  0
                        Premium Assignment Corp                         58,583.05

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                             Landlord Name                         TOTAL CURE AMOUNT ($)
                   Radiant Systems Inc. (Aloha Radiant)                   53,833.16
                               Pepsi‐Cola                                     0
                     Rogers Avenue Properties LLC                        11,916.67
                          San Juan Associates                             3,107.12
                        Tomorrow IX Broadmoor                             4,727.55
                 Wells Fargo Insurance Service USA, Inc.                 206,182.56
              WFC Wyoming NM LLC ‐ Attn: Alicia & Jeronimo               75,408.77

                                                                         $1,631,085




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                               Schedule 2.3(i) – Assumed Liabilities

    Gift Cards
    Gift Cards - Unredeemed                                          $   $186,679.30
                                             Subtotal – Gift Cards   $   $186,679.30

    Ad Valorem Taxes
    Creditor                                                                Amount
    Bexar County Tax Assessor                                        $   19,377.61
    City of El Paso & El Paso County Tax Assessor                    $       73.03
    City of El Paso & El Paso County Tax Assessor                    $    2,268.21
    City of Garland                                                  $    1,534.92
    City of McAllen                                                  $      986.10
    City of Sulphur Springs                                          $      285.19
    Collin County Tax Assessor                                       $    1,631.34
    Collin County Tax Assessor                                       $    5,382.77
    Dallas County Tax Office                                         $   20,866.92
    Dallas County Tax Office                                         $    1,424.27
    Dallas County Tax Office                                         $    3,121.47
    Ector County Tax Assessor                                        $    2,125.00
    Ector County Tax Assessor                                        $    2,776.71
    Garland ISD                                                      $    2,730.23
    Hale County Appraisal District                                   $    1,757.48
    Hidalgo County & ISD                                             $    4,686.75
    Hopkins County Tax Office                                        $      501.86
    Lubbock County Appraisal District                                $    7,373.45
    Lubbock County Appraisal District                                $   64,296.69
    Lubbock County Appraisal District                                $    1,997.73
    Lubbock County Appraisal District                                $    1,786.02
    Lubbock County Appraisal District                                $      918.17
    Lubbock County Appraisal District                                $    6,316.05
    Lubbock County Appraisal District                                $      134.98
    Lubbock County Appraisal District                                $      202.45
    Lubbock County Appraisal District                                $      134.98
    Lubbock County Appraisal District                                $   73,444.15
    Lubbock County Appraisal District                                $      258.56
    Lubbock County Appraisal District                                $      183.71
    Lubbock County Appraisal District                                $      255.43
    McKinley County Treasurer                                        $      304.64
    Midland County Tax Assessor                                      $      290.13
    Midland Central Appraisal District                               $    2,029.92
    Potter County, Tax Assessor                                      $    5,625.96
    Potter County, Tax Assessor                                      $    3,877.34


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    Sharon Hollingsworth – Tax Assessor                             $     4,247.08
    Sulphur Springs ISD                                             $        881.81
    Tarrant County                                                  $      3,279.60
    Tarrant County                                                  $      1,430.59
    Tarrant County Tax Assessor                                     $        187.40
    Oklahoma Employee Secruity Commission                           $      7,604.36
    Colorado Dept of Revenue                                        $     2,183.00
    Oklahoma Dept of Revenue                                        $    15,349.51
    Arizona Dept of Revenue                                         $      9,297.77
    Arkansas Dept of Revenue                                        $     8,827.00
    City of Tucson, Collections                                     $      2,741.15
    City of Wheat Ridge City Hall                                   $     1,475.35
    New Mexico Dept of Revenue                                      $    116,261.12
    Texas Dept of Revenue                                           $    327,195.55

                                      Subtotal - Ad Valorem Taxes   $    739,873.45

    Total Assumed Liabilities                                       $   926,552.75


  *Notwithstanding the foregoing, the 2013 and any prior year ad valorem taxes that are due and
  payable with respect to the Purchased Assets shall be paid upon the later of (a) Closing or (b)
  such later date as agreed upon by the Purchaser and applicable taxing authority, and the
  Purchased Assets shall be sold subject to the liens for the 2014 ad valorem taxes, liability for
  which taxes is assumed and shall be paid by the Purchaser in the ordinary course of business.




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                         Schedule 3 – Seller Disclosure Schedule

  None.




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                       Schedule 4 – Purchaser Disclosure Schedule

  None.




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                                                  Schedule 5.12 – Contract & Cure Schedule

                                                                                         Docket # of
                                                                                        Court Order, if   TOTAL CURE
              Landlord Name                    Store #           Description              applicable      AMOUNT ($)    ASSUME OR REJECT
 505 Cordova LLC C/o Westgate Properties         116         Rent/Lease/Property                           36,692.29        ASSUME
                   Air Gas                                                                                 10,201.69        ASSUME
                 Air Liquide                    DF            Nitrogen Contract                             3,252.00        ASSUME
   AM Realty Capital (ARC CafeUSA001)           148          Rent/Lease/Property            [___]          109,460.40       ASSUME
            Anchor Equities Ltd                 190          Rent/Lease/Property                           32,161.69        ASSUME
        Arthur N Rupe Foundation                235          Rent/Lease/Property                           83,359.55        ASSUME
            BioControl Systems                              Lab Supply Agreement                           11,160.09        ASSUME
           Boston & Mays LLC Inc                 110         Rent/Lease/Property                            5,478.40        ASSUME
          Bre Central Ind Non Reit            corporate      Rent/Lease/Property                           16,888.33        ASSUME
  Cigna Health & Life Insurance Company                           Dental Plan                                               ASSUME
                Cintas Corp                                   Service Agreement                            1,648.53         ASSUME
               Clear Channel                                  Billboard Contract                           2,571.43         ASSUME
      Consolidated Edison Solutions1                                                                      50,000.00         ASSUME
Consolidated Holdings DBA Mesa Center LLC       104          Rent/Lease/Property                               0            ASSUME
     Crunch Time Information Systems                          License Agreement                            7,824.00         ASSUME
      Dennis A Gura Segura Holdings             160          Rent/Lease/Property                          27,696.58         ASSUME
         Dr Pepper/Seven Up, Inc.                           Purchasing agreement                          53,320.75         ASSUME
          Ecolab – Dish Machines                                 Dish Machines                            55,573.67         ASSUME
 Ecolab Inc. – Chemical Supply Agreement                                                                  98,039.44         ASSUME
            Farm Properties Inc                 141         Rent/Lease/Property                                0             REJECT
 Gallup Rio West LLC ‐ Attn: Anita Artalejo     228         Rent/Lease/Property                                0             REJECT
      Greatamerica Financial Services                       Xerox Copier Systems                           1,004.17         ASSUME
         Headrick Outdoor Media                           Sulphur Springs ‐ Billboard                      1,026.30         ASSUME
             Holland Island LLC                 123         Rent/Lease/Property                           108,850.04        ASSUME
Hume Arizona Holdings LLC ‐ Attn: Jonathan
                  Garonce                       231          Rent/Lease/Property                           14,322.88        ASSUME
 Hume Investment Advisors, LLC C/o Incorp
                  Services                      234          Rent/Lease/Property                           56,165.18        ASSUME
               Hyster Capital                                  Operating lease                              3,852.85        ASSUME

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      Assumed Per Email Agreement Dated 6/24/14 – Agree Order to Be Submitted.

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    Inland Diversified Real Estate Services    315        Rent/Lease/Property            426                 0            REJECT
                Iron Mountain                                                                            7,197.67        ASSUME
              Joe E Monarrez Jr                176        Rent/Lease/Property                                0            REJECT
       Konica Minolta Premier Finance                          Copier lease                              1,133.03        ASSUME
              Las Palmas Riocan                500        Rent/Lease/Property            430            54,443.59        ASSUME
               Lone Star Signs                             Billboard Contract                                0           ASSUME
                  M Trammell                   302        Rent/Lease/Property                           36,085.35        ASSUME
               MacGuffin Films                                                                          25,000.00        ASSUME
                                                         Schedule 2 (Store 319);
            Maxus Capital Group                           Schedule 3 (Dynamic)                          36,507.16        ASSUME
             MDJ Furrs Alta, LLC               191        Rent/Lease/Property                                0           ASSUME
          Music City Mall Properties           102        Rent/Lease/Property                           57,072.34        ASSUME
            N3 335 Plano TX LLC                319        Rent/Lease/Property                           74,577.14        ASSUME
     National Retail Properties, LP ‐ #204     204        Rent/Lease/Property                                0           ASSUME
     National Retail Properties, LP ‐ #311     311        Rent/Lease/Property                                0           ASSUME
     National Retail Properties, LP ‐ #313     313        Rent/Lease/Property                            104,790         ASSUME
             New Mexico Logos                               Billboard Contract                               0           ASSUME
               NMHG Financial                        Operating lease (Lift Equipment)                    3,314.38        ASSUME
      One Energy Shopping Center LLC           101        Rent/Lease/Property                            6,299.94        ASSUME
Parkway Development Co C/o Commercial Prop
                     Serv                      128        Rent/Lease/Property                               0            REJECT
                                                     Financing for Annual Insurance
         Premium Assignment Corp                                 Package                                58,583.05        ASSUME
                                                       POS ‐ On line reporting, See
     Radiant Systems Inc. (Aloha Radiant)                    Aloha Contract                             53,833.16        ASSUME
                 Pepsi‐Cola                              Purchasing agreement                                0            REJECT
        Rogers Avenue Properties LLC           312        Rent/Lease/Property                           11,916.67        ASSUME
            San Juan Associates                175        Rent/Lease/Property            428             3,107.12        ASSUME
          Tomorrow IX Broadmoor                103        Rent/Lease/Property                            4,727.55        ASSUME
                                                       Merchant Processor Service
   Wells Fargo Insurance Service USA, Inc.                    Agreement                                 206,182.56       ASSUME
WFC Wyoming NM LLC ‐ Attn: Alicia & Jeronimo   115        Rent/Lease/Property                           75,408.77        ASSUME

                                                                                                        $1,631,085




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                                   Schedule 10.1 – Employees

  (i) Senior management

  Position                                                 Name
  Chief Executive Officer                                  Barry M. Barron, Sr.
  Chief Financial Officer                                  David Siebert
  Vice President – Operation                               Sam Pyeatt
  Senior Director – Operations (Dynamic Foods)             Richard Hill
  Senior Director – Purchasing (Dynamic Foods              Connie Luck


  (ii) At-will employees

  *Note: Regional Managers (4), Corporate staff and Store level personnel may not require written
  agreements.




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